Case 1:19-cr-00077-JB-SMV
Case 1:21-cv-00505-JB-SMV Document
                          Document250
                                   34 Filed
                                      Filed 11/10/21
                                            11/10/21 Page
                                                     Page 11 of
                                                             of 88
Case 1:19-cr-00077-JB-SMV
Case 1:21-cv-00505-JB-SMV Document
                          Document250
                                   34 Filed
                                      Filed 11/10/21
                                            11/10/21 Page
                                                     Page 22 of
                                                             of 88
Case 1:19-cr-00077-JB-SMV
Case 1:21-cv-00505-JB-SMV Document
                          Document250
                                   34 Filed
                                      Filed 11/10/21
                                            11/10/21 Page
                                                     Page 33 of
                                                             of 88
Case 1:19-cr-00077-JB-SMV
Case 1:21-cv-00505-JB-SMV Document
                          Document250
                                   34 Filed
                                      Filed 11/10/21
                                            11/10/21 Page
                                                     Page 44 of
                                                             of 88
Case 1:19-cr-00077-JB-SMV
Case 1:21-cv-00505-JB-SMV Document
                          Document250
                                   34 Filed
                                      Filed 11/10/21
                                            11/10/21 Page
                                                     Page 55 of
                                                             of 88
Case 1:19-cr-00077-JB-SMV
Case 1:21-cv-00505-JB-SMV Document
                          Document250
                                   34 Filed
                                      Filed 11/10/21
                                            11/10/21 Page
                                                     Page 66 of
                                                             of 88
Case 1:19-cr-00077-JB-SMV
Case 1:21-cv-00505-JB-SMV Document
                          Document250
                                   34 Filed
                                      Filed 11/10/21
                                            11/10/21 Page
                                                     Page 77 of
                                                             of 88
Case 1:19-cr-00077-JB-SMV
Case 1:21-cv-00505-JB-SMV Document
                          Document250
                                   34 Filed
                                      Filed 11/10/21
                                            11/10/21 Page
                                                     Page 88 of
                                                             of 88
